406 F.2d 1326
    Herbert E. FRYAR, etc., Plaintiff-Appellant,v.WESTERN-ATLANTIC RAILROAD COMPANY, Defendant-Appellee.Mae Bell MAXWELL, Plaintiff-Appellant,v.WESTERN-ATLANTIC RAILROAD COMPANY, Defendant-Appellee.
    Nos. 18671, 18672.
    United States Court of Appeals Sixth Circuit.
    Feb. 14, 1969.
    
      Hugh P. Garner, of Morgan &amp; Garner, Chattanooga, Tenn., Berke &amp; Berke, Chattanooga, Tenn., on brief for appellant Mae Bell Maxwell-- No. 18,672.
      W. D. Spears, Chattanooga, Tenn., Francis I. Breazeale, Spears, Moore, Rebman &amp; Williams, Chattanooga, Tenn., on brief, for appellee.
      Before EDWARDS, CELEBREZZE and PECK, Circuit Judges.
    
    ORDER
    
      1
      In these consolidated cases Appellants appeal from orders of the United States District Court for the Eastern District of Tennessee, Southern Division, 295 F.Supp. 740, granting Defendant-Appellee's motions for judgment notwithstanding the verdict.
    
    
      2
      Upon consideration of the record, briefs and argument of counsel, and viewing the evidence in the light most favorable to Appellants, we are of the opinion that reasonable minds could reach but one conclusion, namely, that the Defendant-Appellee was not negligent in any respect which was a proximate cause of damages sustained in Case No. 18,671, or death in Case No. 18,672.  The District Court was therefore correct in granting motions for judgment notwithstanding the verdict.
    
    
      3
      It is therefore ordered, adjudged and decreed that the judgments of the District Court be, and they are, hereby affirmed.
    
    